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                      15
                                               UNITED STATES DISTRICT COURT
                      16
                                              CENTRAL DISTRICT OF CALIFORNIA
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                           ANTHONY BROWN, SR.,                    Case No. 2:13-CV-02620-PSG-PJW
                      18
                                          Plaintiff,              [PROPOSED] ORDER TO SET
                      19                                          CASE FOR STATUS
                           v.                                     CONFERENCE
                      20
                           VERONICA CONRADO, ET AL.,              [Concurrently Filed With Joint
                      21   Defendant.                             Stipulation and Request for an Order to
                                                                  Set Case for Status Conference]
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H OGAN L OVEL LS US
       LLP                                                                                         [PROPOSED] ORDER
  ATTO RNEY S AT LAW
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                Case 2:13-cv-02620-PSG-E Document 180 Filed 01/26/21 Page 2 of 2 Page ID #:2119



                       1
                                                        [PROPOSED] ORDER
                       2
                                 The Court, having read and considered the Parties’ Joint Stipulation and
                       3
                           Request for an Order to Set Case for a Status Conference, and good cause thereby
                       4
                           appearing, accepts the Parties’ Joint Stipulation and GRANTS their request and
                       5                                                             February 16
                           orders that the case be set for a status conference for __________________, 2021 at
                       6    2:30 a.m.
                           _______
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                       8
                       9         IT IS SO ORDERED.
                      10           01/26/
                           Dated: ____________, 2021
                      11                                                Honorable Philip S. Gutierrez
                      12                                                United States District Court Judge

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H OGAN L OVEL LS US
       LLP
  ATTO RNEY S AT LAW
                                                                  -2-                            [PROPOSED] ORDER
     LOS A NG EL ES
